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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                 Plaintiff,         )    Case No. CR05-231
                                                      )
10                          v.                        )    PROPOSED FINDINGS OF FACT
                                                      )    AND DETERMINATION AS TO
11 DARRELL J. MORRIS,                                 )    ALLEGED VIOLATIONS OF
                                                      )    SUPERVISED RELEASE
12                                 Defendant.         )

13                                              INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on October

15 18,2 010. The defendant appeared pursuant to summons issued in this case. The United States

16 was represented by Bruce Miyake, and defendant was represented by Michael Craig Nance.

17 Also present was U.S. Probation Officer Jerrod Akins. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on April 14, 2001 by the Honorable John C. Coughenour for

20 Possession of a Firearm. He received 30 months of detention and 36 months of supervised

21 release.

22       On November 26, 2009, the Probation Office alleged Mr. Morris violated his supervision by

23 possessing drugs, failing to report law enforcement contact, and falsifying his monthly reports.


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 Mr. Morris admitted the violations and on January 8, 2010, Mr. Morris was sentenced to serve 4

 2 months of detention followed by 24 months of supervised release with the added conditions that

 3 he participate in the Moral Reconation Therapy program and that he reside in a residential

 4 reentry center for 120 days for violation of his conditions of supervised release.

 5                               PRESENTLY ALLEGED VIOLATIONS

 6         In petitions dated August 26, 2010 and September 15, 2010, U.S. Probation Officer Jerrod

 7 Akins alleged that defendant violated the following conditions of supervised release:

 8         1.      Consuming alcohol on August 10, 2010, in violation of the special condition that he

 9 abstain from the use of alcohol.

10         2.      Committing the crime of Assault in the Fourth degree in violation of the general

11 condition that he not commit another federal, state, or local crime.

12         3.      Committing the crime of Harassment (Domestic Violence), in violation of the

13 general condition that he no commit another federal, state,

14                        FINDINGS FOLLOWING EVIDENTIARY HEARING

15         Defendant admitted to violation 1. Violation 2 was amended to committing the crime of

16 Disorderly Conduct and defendant admitted this violation. Violation 3 was stricken. Defendant

17 waived any hearing as to whether they occurred, and was informed the matter would be set for a

18 disposition hearing on October 22, 2010 before District Judge John C. Coughenour.

19                        RECOMMENDED FINDINGS AND CONCLUSIONS

20         Based upon the foregoing, I recommend the court find that defendant has violated the

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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 2       DATED this 18th day of October, 2010.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
